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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-151V
                                      (not to be published)

    ************************* *
                                      *
    ARCHANA CHANDER, on behalf of her *
                                      *
    minor child, L.M.,                *                    Filed: January 13, 2021
                                      *
                       Petitioner,    *
                                      *
                                      *                    Decision by Stipulation; Damages; MMR
    v.                                *                    Vaccine; Idiopathic Thrombocytopenia
                                      *                    Purpura (“ITP”).
    SECRETARY OF HEALTH AND           *
    HUMAN SERVICES,                   *
                                      *
                                      *
                       Respondent.    *
                                      *
    ************************* *

Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for Petitioner
Julia Collison, U.S. Department of Justice, Washington, DC, for Respondent

                              DECISION ON JOINT STIPULATION1

        On November 14, 2017, Archana Chander (“Petitioner”) filed a petition on behalf of her
daughter L.M., seeking compensation under the National Vaccine Injury Compensation Program
(“the Vaccine Program”).2 Pet., ECF No. 1. Petitioner alleges L.M. suffered from idiopathic
thrombocytopenia purpura (“ITP”) as a result of the measles, mumps, and rubella (“MMR”)
vaccination she received on May 1, 2015. See Stipulation ¶ 2, 4, dated January 12, 2021 (ECF No.
66); see also Petition.

1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
                                                      1
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        Respondent denies “that L.M. sustained an ITP Table injury within the Table time period,
and further denies that the MMR vaccine caused L.M.’s alleged ITP, or any other injury or her
current condition.” See Stipulation ¶ 6. Nonetheless, both parties, while maintaining their above-
stated positions, agreed in a stipulation filed January 12, 2021 that the issues before them can be
settled and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

    1. A Lump Sum

       A lump sum of $5,000.00 in the form of a check payable to [P]etitioner, which represents
       compensation for past unreimbursable expenses. Stipulation ¶ 8.

    2. An Annuity

       The remainder of damages shall be paid in the form of an annuity contract, which shall be
purchased as soon as practicable after entry of judgment. Accordingly, pursuant to 42 U.S.C. §
300aa-15(f)(4), I order Respondent to purchase, and take ownership of, an annuity contract,3 as
described below:

       Each Life Insurance Company must meet the following criteria:

       1. Have a minimum of $250,000,000 of capital and surplus, exclusive of any mandatory
          security valuation reserve; and

       2. have one of the following ratings from two of the following rating organizations:
          a) A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;
          b) Moody’s Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;
          c) Standard and Poor’s Corporation Insurer Claims-Paying Ability Rating: AA-, AA,
             AA+, or AAA;
          d) Fitch Credit Rating Company, Insurance Company Claims-Paying Ability Rating:
             AA-, AA, AA+, or AAA.

The Secretary of Health and Human Services shall purchase an annuity contract from the Life
Insurance Company for the benefit of Petitioner, pursuant to which the Life Insurance Company
will agree to make payments periodically to Petitioner as described in paragraph 10 of the attached
Stipulation. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).


3
 To satisfy the conditions set forth herein, in Respondent’s discretion, Respondent may purchase one or
more annuity contracts from one or more life insurance companies.
                                                  2
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Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk
of the Court is directed to enter judgment herewith.4

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.


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